Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 1 of 60




                                                                         mdc

                                                                 Jul 27, 2023

                                                                           West Palm Beach, FL
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 2 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 3 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 4 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 5 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 6 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 7 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 8 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 9 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 10 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 11 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 12 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 13 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 14 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 15 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 16 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 17 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 18 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 19 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 20 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 21 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 22 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 23 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 24 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 25 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 26 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 27 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 28 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 29 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 30 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 31 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 32 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 33 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 34 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 35 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 36 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 37 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 38 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 39 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 40 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 41 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 42 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 43 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 44 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 45 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 46 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 47 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 48 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 49 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 50 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 51 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 52 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 53 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 54 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 55 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 56 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 57 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 58 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 59 of 60
Case 9:23-cr-80101-AMC Document 85 Entered on FLSD Docket 07/27/2023 Page 60 of 60
